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ATTORNEYS R`[ LAW

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Jacqueiine Bryant
Clerk of the Court

Transaction # 5787630

 

 

CASE NO. CV14-00544 MANUEL GRA|WER et al. vs. VAL HOLMS et al.

DATE, JUDGE

OFFICERS OF ` .
COURT PRESENT APPEARANCES-HEARING CONTINUED TO
10/25/16 HEARENG IN RE: DEFENDANTS’ MOT|ON FOR PREL!MINARY
HONORABLE iNJUNCT|ON

PATRICK Thomas Brad|ey1 Esq., and John Aberasturi, Esq., were present in
FLANAGAN Court on behalf of the Plaintiffs, who were not present

DEF’T. NO. 7 lvlatt Acidison, Esq., was present in Court on behalf cf Nomina|

K. Oates Defendant Bal<l<en Resources, |nc.

(C|er|<) Paul Anderson, Esq., was present in Court on behalf of Defendants

S. Koetting Wesley i:’aul1 Dan Anderson, Herman l_andeis, Karen Nlidtlyng, Bi||

(Reporter) B'aber, and Doug Williarns, who were present "

Doug Brown, Esq., was present in Court on behalf of Defendant Va|
Holms, who Was not present

9:05 a.m. - Court convened with Court, counsel and respective
parties present

lntroductions of counsel and respective parties were made to the
Court.

The Court recited a procedural history of this case.

Counsel Anderson, on behalf of the Defendants, addressed the
Court and advised he has not yet filed a reply to the Holms Order to
Show Cause/Contempt Motion.

Counsel Brad|ey, on behalf of the Plaintiffs, addressed the Court and
advised that the declaration of the shareholders of Bal<i<en
Resources, |nc. ("BR|"), was filed - a copy of which was provided to
the Court.

Counsei Addison, on behalf of the Nomina| Defendant, addressed
the Court and responded he has not seen the deciaration.

Counsel Anderson responded and argued in support of Defendants’
|Viotion for Preliminary injunction

Counsel Brown, on behalf of Defendant Holms, addressed the Court
and advised, for purposes of today’s Hearing, the parties have
stipulated that no witness testimony will be presented, only
argument Further, counsel argued in opposition to the Defendant’s -
|V|otion for Preliminary injunction and advised that he, counsei Brown,

will be filing a Motion to Dismiss as to claims involving Defendant

Holms. Further, counsel advised that Defendant Holms and F'|aintiff

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CASE NO. CV‘i4-00544 MANUEL GRA|WER et ai. vs. VAL i-lOLMS et ai.
Page Two

DATE, JUDGE

OFFiCERS OF , _

COURT PRESENT APPEARANCES-HEAR|NG ` CONTINUED TO

10/25116 HEAR|NG iN RE: DEFENDANTS’ iViOTlON FOR PREL|M|NARY

HONORABLE iNJUNCTlON

PATR|CK Graiwer entered into a new settlement and their motion to approve

FLANAGAN that settlement will be fried when finalized.

DEPT. NO. 7 Counsel Bradiey responded and argued in support of denial of the

K. Oates Niotion for Preiiminary injunction.

(Cieri<) Counsel Aberasturi addressed the Court and argued in support of

S. Koetting denial of the Motion for Preiiminary injunction

(Reporter) Counsel Anderson further argued in support of the iV|otion for

Preiiminary injunction, and the Court entering an order allowing the
Temporary Restraining Order (“TRO”) to continue. Further, counsel
argued that no action should be occurring in i`viontana, but rather
here.

Counsel Bradiey responded that this Court contacting the Judge
involved in the Montana matter would be improper1 and further
argued that there should be an injunction in place keeping matters
where they are and the parties should proceed in an ordinary
fashion

10:25 a.m. - Recess.

11:35 a.rn. »- Court reconvened with Court, counsel and respective
parties present

The Court represented to the parties the possibility of consolidating
the preliminary injunction with the trial on the merits, to include this
matter being resolved once and for ai|.

Counsel Brown responded and sought clarification from the Court to
include the filing of a complaint

Counsel Anderson responded and sought clarification from the Court
as to ruling now on the consolidationl or continuing the TRO.

The Court responded that ali matters would be concluded in one
proceeding, the TRO would be extended, and a complaint for
declaratory relief would be filed Further, the Court addressed
compressing the discovery process and briefing scheduie, and
proceeding with trial in January, 2017.

Counsel Addison responded and deferred to counsel Anderson.

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CASE NO. CVl4-00544 |‘viANUEL GRAlWER et ai. vs. VAL HOL|ViS et ai.
Page Three
DATE, JUD_G_E
OFF|CERS OF ,
COURT PRESENT APPEARANCES-HEAR|NG CONTiNUED TO
10125/16 HEARiNG iN RE: DEFENDANTS’ iViOTlON FOR PREl_il\/ilNARY
HONOR/-\BLE iNJUNCTlON
PATRICK Counsel Anderson replied and had no objection to the Court’s
FLANAGAN proposai.
DEPT. NO. 7 Counsel Addison responded and had no objection from a derivative
K. Oates settlement perspective
(Cleri<) Counsel Aberasturi replied and also had no objection from a
S. Koetting derivative settlement perspective
(Reporter) Counsel Addison responded that the parties are very close to a
settlement and are working on the notice to shareholders and terms
of settlement

Counsel Brown replied and addressed concerns to include he
presently has two trials set for January, his intention is to file a
Motion to Dismiss, and the affect that N|otion would have, and
further, counsel expressed concerns about fees and costs. j
Counsel Addison responded and further concurred with the Court `~~""
Counsel Bradiey replied he does not have the authority to agree at

this time.

Counsel Anderson echoed the sentiments of counsel Addison.

Counsel Bradiey responded With respect to the TRO, modifications

should occur.

Counsel Anderson replied and concurred

Counsel Aberasturi addressed TRO modifications to include no

transfer of stock or granting of proxy.

COURT ORDERED: The Temporary Restraining Order will be

extended to include modifications as recited by counsel Aberasturi.

it is further ordered that the parties are to appear in the chambers of

Department Seven and set either a bench orjury triai, a Status

Hearing is set for December 1, 2016 at 1:30 p.m. at which out-of-

state counsel can appear via Court Caii, and further, counsel

Anderson will prepare and submit a proposed order to the Court

11:55 a.m. - Court stood in recess.

